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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

 UNITED STATES OF AMERICA

 VS.                                             CASE NO: 6:06-cr-22-ACC-LRH

 JASON E. MADOW


                                       ORDER

       This cause comes before the Court on review of Defendant Jason E. Madow’s

 Request for Review (“Objections”) to the Magistrate Judge’s Order dated April 20,

 2021, which directed the Clerk to issue a writ garnishing Defendant’s wages on

 behalf of the United States. (Doc. 124). Defendant (prematurely) seeks relief from

 the writ of garnishment although the writ has not yet issued. Defendant’s Objections

 will be overruled without prejudice to assertion at the appropriate time, and the Clerk

 will be directed to issue the writ of garnishment.

               I.     FACTUAL AND PROCEDURAL BACKGROUND

       Defendant and one other individual were charged in a one-count information

 with conspiracy to commit wire fraud in violation of 18 U.S.C. § 371. (Doc. 1). On

 March 2, 2006, pursuant to a written plea agreement, Defendant entered a plea of

 guilty to the sole count contained in the information for engaging in a complex

 scheme to defraud JP Morgan Chase Bank and Old Standard Life Insurance

 Company by making material false statements for the purpose of obtaining loans to

 purchase commercial hotel properties. (Doc. 12). The guilty plea was accepted,
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 Defendant was adjudicated guilty of conspiracy to commit wire fraud, and he was

 sentenced on May 19, 2006 to a 41-month term of imprisonment, followed by a

 three-year term of supervised release. (Docs. 42, 47). Defendant was also ordered to

 make restitution to victim JP Morgan Chase Bank in the amount of $34,744,511.00.

 (Id. at 5). The Judgment provides that upon release from custody, the Defendant will

 make payments of $100.00 per month and “this payment schedule shall continue

 until such time as the Court is notified by [the Defendant], the victim, or the

 government that there has been a material change in [the Defendant’s] ability to

 pay.” (Id.). After he was sentenced, Defendant filed a direct appeal, and the Eleventh

 Circuit dismissed the appeal based on the valid appeal waiver contained in

 Defendant’s plea agreement. (Doc. 65). Since the time he was sentenced in 2006,

 the Defendant, proceeding pro se, has unsuccessfully sought to be relieved from the

 restitution portion of his Judgment on several occasions. (See Docs. 67-69, 75, 82,

 85-86, 88, 89, 94). On August 31, 2009, the Court denied Defendant’s Motion

 seeking an evidentiary hearing to contest the restitution amount based on JP

 Morgan’s asset declaration because “Defendant failed to challenge the calculation

 of restitution before this Court or on direct appeal.” (Doc. 88 at 2) (citing Cani v.

 United States, 331 F.2d 1210, 1213-14 (11th Cir. 2003) (holding that restitution

 calculations may not be challenged for the first time in a collateral proceeding,

 absent exceptional circumstances)).
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       Eleven years later, on November 10, 2020, the Government filed a Wage

 Garnishment Application. (Doc. 96). Defendant was released from custody in 2012,

 and by 2020 was earning approximately $4,375.00 per month; the Government

 contends this represents a “material change” in the Defendant’s ability to pay since

 his time in custody. (Id.). As of November 10, 2020, the balance of the restitution

 portion of the Defendant’s criminal judgment, including more than $25 million in

 accrued interest, is $59,955,386.71. (Id. at 1-2).

       While in custody, from August 2010 through May 2012, Defendant

 consistently made his $100 monthly payments (Doc. 96 at 2; Doc. 103 at 3).

 However, coinciding with the termination of his supervised release in June 2012,

 Defendant ceased making monthly payments from 2012 to 2019. (See Doc. 106).

 The Government issued a demand letter to Defendant on January 29, 2019, along

 with a request for a financial disclosure statement. (Doc. 96 at 2). Defendant could

 not pay the full restitution amount which became due upon his default and, the

 Government contends, he refused to submit a financial disclosure statement. (Id.).

 Therefore, the Government subsequently subpoenaed the Defendant’s financial

 records and credit line applications, thereby discovering Defendant’s current

 employment and earnings of approximately $4,375.00 per month. (Id.).

       On November 10, 2020, the Government requested that a wage garnishment

 be issued to Defendant’s employer, HomeOwners Advantage, to compel his

 employer to pay to the Government either 25% of his weekly disposable income, or
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 the amount by which his weekly income exceeds 30 times the federal minimum wage

 ($7.25). (Id. at 2-3 (citing 15 U.S.C. § 1673 and 28 U.S.C. § 3002(9)).

        In response to the Government’s request, Defendant filed several motions: (1)

 an Emergency Motion to Appoint Public Defender and Motion to Quash and/or Stay

 Writ of Garnishment (Doc. 98); (2) a Request for Hearing or Transfer and Claim for

 Exemptions (Doc. 100); (3) an “Objection to Answer of Plaintiff’s Motion for Writ

 of Garnishment, Motion to Support Transfer of Venue, and Issuance of Subpoenas

 Without Prior Court Approval” (Doc. 105); and (4) a “Motion for Relief,” in which

 he requests that he be allowed to voluntarily pay the arrears for his restitution over

 a 36-month period. (Doc. 106). 1 Magistrate Judge Hoffman denied Defendant’s

 request for appointment of counsel and deferred a ruling on the remaining portion of

 the Defendant’s Motion to Quash, ordering the Government to respond. (Doc. 99).

 The Government filed timely responses in opposition to the other Motions and to

 Defendant’s proposed arrearage plan. (Docs. 101, 103, 111).

        Following full briefing of the issues, Magistrate Judge Hoffman ultimately

 granted the wage garnishment application authorizing issuance of the writ and

 denied Defendant’s remaining Motions without prejudice because they put “the cart

 before the horse”:

              The Defendant is not challenging the validity of his restitution
        judgment, is not challenging the fact that he has missed nearly 7 years
        of payments, and is not challenging the fact that he refused to provide
        1
          Defendant also filed an unauthorized reply to the United States’ response to the
 Defendant’s proposed arrearage plan (Doc. 112) and a Motion to Take Judicial Notice of the
 United States’ receipt of $150,000 in net proceeds from the sale of a condominium (Doc. 113).
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      a financial disclosure statement, or otherwise assist in recovery efforts.
      Nor does he argue that the Application is procedurally deficient. Rather,
      he raises only two issues in his motion to quash: (1) that the United
      States cannot alter or modify the $100.00 per month payment schedule
      set forth in the criminal judgment and cannot enforce any restitution
      order beyond this payment schedule; and (2) the full amount of the
      restitution judgment cannot become due and payable in full unless the
      restitution judgment does not provide for installment payments. (Doc.
      98, at 2; see also Doc. 105, at 1-2). Neither of these arguments fall
      within the category of issues that can be raised by a judgment debtor
      when challenging or objecting to a garnishment proceeding. See 28
      U.S.C. § 3202(d). . . .

             And even if they were permitted to be raised, the Defendant’s
      arguments are without merit. It appears that the Defendant is conflating
      his monthly payment schedule with the United States’ authority to
      engage in separate enforcement proceedings, including a garnishment
      action. As the statutory scheme detailed above makes clear, the United
      States is authorized to engage in garnishment proceedings in order to
      recover any outstanding restitution award. 18 U.S.C. § 3613(a), 28
      U.S.C. § 3205(a). This does not alter or amend the criminal judgment
      in this case, and the fact that a payment schedule exists does not
      preclude the United States from engaging in garnishment proceedings.
      ...

            For these reasons, the Defendant’s motion to quash (Doc. 98)
      will be denied. However, because the writ of garnishment has not yet
      been issued, and once it is issued, the statutory procedural mechanisms
      of 28 U.S.C. § 3202(b)-(d) will apply, the denial of the Defendant’s
      motion will be without prejudice. If the Defendant can file a properly
      supported motion to quash that complies with the requirements of 28
      U.S.C. § 3202, he is free to do so within the time period provided. . . .

             In addition to his motion to quash, the Defendant has filed a . . .
      Request for Hearing or Transfer. (Doc. 100). The Defendant does not
      list any reasons or reference any authority that would suggest his wages
      are exempt from garnishment. (Id. at 1). Rather, he requests that his
      case be transferred to the Northern District of Georgia. (Id. at 1-2). In
      support of this request, the Defendant states that he resides in Georgia,
      and the United States filed a notice of lien in Fulton County, Georgia
      on December 10, 2018, thereby domesticating his restitution judgment
      in Georgia. (Doc. 105, at 3; Doc. 105-1). The Defendant argues, without
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      any authority in support, that the entire restitution judgment is now
      subject to Georgia law for enforcement, and thus any garnishment
      proceedings must also abide by Georgia law. (Doc. 105, at 3). . . .

            Upon review, the Defendant’s request for transfer is premature
      and shall be denied without prejudice on that basis. As previously
      mentioned, no writ of garnishment has yet been issued, therefore the
      United States has not yet engaged in any debt collection proceedings
      that would be subject to transfer. See 28 U.S.C. § 3004(b)(2). The
      Defendant may reassert his request for transfer, if necessary and
      appropriate, pursuant to the procedural requirements set forth in 28
      U.S.C. § 3004(b)(2). . . .

             Next, the Defendant requests that in lieu of the wage garnishment
      proceedings, he be allowed to voluntarily pay the more than seven (7)
      years of arrears over a 36-month period. (Doc. 106). He provides no
      legal authority in support of this request, which in essence asks the
      Court to temporarily modify his payment schedule for the 36 months,
      and then have it revert back to the $100 per month schedule. To the
      extent this is another attempt to object to the wage garnishment
      application, this is not an objection permitted under the governing
      statutory scheme.

              Further, the United States has filed a response in opposition, in
      which it correctly notes that it has the right and the authority to pursue
      garnishment proceedings in this case. (Doc. 111). The United States
      further points out that the Defendant was in default, had not made any
      monthly payments for over seven years, did not make his $10,000 lump
      sum payment as required in the criminal judgment, and refused to assist
      in the United States’ prior attempts to collect (including refusing to
      answer questions and to complete a Financial Disclosure Statement).
      (Id. at 1-2). In addition, the Defendant has not refuted the United States’
      contention that his financial status has changed such that he could
      afford a higher monthly payment (indeed, his request to at least
      temporarily pay a higher amount would support the United States’
      position). For these reasons, and in the absence of any legal authority
      to support the Defendant’s request, his motion to pay the arrears over a
      36-month period will also be denied without prejudice.

            Last, the Defendant moves for the Court to take judicial notice
      of a Release of Lis Pendens which relates to a condominium located at
      3407 S. Ocean Boulevard, Ph-B, Highland Beach, Florida. (Docs. 113,
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       113-1). This real property was the subject of a final order of forfeiture
       in this case, and both the original Notice of Lis Pendens, and the
       Release of Lis Pendens were previously filed in this case. (Docs. 13,
       16, 51-52). The Defendant has not provided any argument as to why
       the Court should take judicial notice of the document, particularly given
       that it is already part of the docket for this case. As such, the motion
       will be denied without prejudice.

 (Doc. 114 at 6-9 (citations omitted)). Defendant moved to stay issuance of the

 garnishment pending appeal, which Judge Hoffman denied on April 22, 2021. As an

 initial matter, Defendant had not filed a notice of appeal at the time. Additionally,

 an order denying relief from a writ of garnishment is not a final and appealable order.

 (Doc. 116 at 2 (citing United States v. Branham, 690 F.3d 633, 635 (5th Cir. 2012))).

       Disregarding Judge Hoffman’s prescient ruling that “orders on garnishments

 are not appealable,” Defendant proceeded to file an appeal on April 23, 2021 from

 “the District Court’s order” dated April 20, 2021, although the order was a non-

 dispositive order of the Magistrate Judge. (Doc. 118). As predicted, on May 26,

 2021, the Eleventh Circuit issued an opinion and mandate (Doc. 122) dismissing sua

 sponte Defendant’s appeal for lack of jurisdiction because it was not appealable:

        Jason Madow appeals from a magistrate judge’s April 20, 2021 order
        granting the government’s wage garnishment application and also
        denying Madow’s motion to quash or stay writ of garnishment,
        motion to transfer, and several other post- judgment motions. The
        magistrate judge’s April 20, 2021 order is not final or otherwise
        immediately appealable because the district court had not yet
        adopted nor rendered it final at the time Madow filed the notice of
        appeal. See Perez-Priego v. Alachua Cty. Clerk of Court, 148 F.3d
        1272, 1273 (11th Cir. 1998); Donovan v. Sarasota Concrete Co., 693
        F.2d 1061, 1066-67 (11th Cir. 1982). Thus, the district court had not
        been given an opportunity to effectively review the magistrate judge’s
        order and we cannot hear appeals “directly from federal magistrates.”
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            See United States v. Schultz, 565 F.3d 1353, 1359 (11th Cir. 2009).
            Accordingly, we lack jurisdiction over this appeal.

 (Id. (emphasis added)). See 28 U.S.C. 636(b); cf. Regions Bank v. Hyman, 91 F.

 Supp. 3d 1234 (M.D. Fla. 2015) (reviewing magistrate judge’s recommendation to

 dissolve post-judgment writs of garnishment in a civil case under Fed. R. Civ. P.

 69), aff’d sub nom. Regions Bank v. G3 Tampa, LLC, 766 F. App’x 772 (11th Cir.

 2019); Branham, 690 F.3d at 635.

        Upon remand from the Eleventh Circuit, on June 21, 2021, the Court ordered

 Defendant Madow to file his objections to the Magistrate Judge’s April 20, 2021

 Order (Doc. 114), which had granted the Government’s Wage Garnishment

 Application (Doc. 96) and denied without prejudice the relief Defendant sought

 (Docs. 98, 100, 106). (Doc. 123). This Court emphasized that “Defendant’s

 objections shall be limited to those issues addressed in the Magistrate Judge’s

 April 20, 2021 Order.” (Id.). On June 30, 2021, Defendant filed his Objections to

 the Magistrate Judge’s April 20, 2021 Order. (Doc. 124).2

        II.      ANALYSIS

    A. Standard for Review of Magistrate Judge’s Non-Dispositive Order

        Under Rule 59, “a district judge may refer to a magistrate judge for

 determination any matter that does not dispose of a charge or defense.” Fed. R.

 Crim. P. 59(a). A party may serve and file objections to a magistrate judge’s order


        2
          The Government was granted leave to file a separate response to Defendant’s
 Objections if it chose to do so. (Doc. 123).
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 on a non-dispositive matter within fourteen days after service of the written order

 or an oral order stated on the record. Id. When a party objects to a non-dispositive

 order of a magistrate judge, “[t]he district judge must consider timely objections

 and modify or set aside any part of the order that is contrary to law or clearly

 erroneous.” Id.; 28 U.S.C. § 636(b)(1)(A). “A finding is ‘clearly erroneous’ when

 although there is evidence to support it, the reviewing court on the entire evidence

 is left with the definite and firm conviction that a mistake has been committed.”

 S.E.C. v. Kramer, 778 F. Supp. 2d 1320, 1326-27 (M.D. Fla. Apr. 1, 2011) (internal

 citations and quotation marks omitted). “An order is contrary to law when it fails

 to apply or misapplies relevant statutes, case law or rules of procedure.” Id. at 1327

 (internal citations and quotation marks omitted).

    B. Defendant’s Arguments

       As Magistrate Judge Hoffman previously noted, Defendant is not

 challenging the validity of his restitution judgment or the Government’s

 representations that he missed seven years of payments, that he refused to provide

 a financial disclosure statement or assist in recovery efforts, or that the

 Government’s garnishment application is procedurally sufficient. (Doc. 114 at 6).

 Defendant does not challenge these issues in his current Objection and admits that

 $7,200 is in arrears. (Doc. 124). However, he requests a payment plan of no more

 than $200 monthly (in addition to the $100 due monthly) for 36 months to catch up

 without issuance of the writ. (Id.). Defendant contends that, “in no way is [he] trying
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 to evade his responsibility” set forth in the Court’s Judgment, but maintains his

 opposition to issuance of a writ of wage garnishment to his employer.

       Defendant asserts three arguments: (1) the Application lacks a certification

 from the Government “that the victim or victims owed restitution by the defendant

 have been notified of the change in circumstances”; (2) he “has refused to submit a

 financial disclosure statement” because the form says at the bottom that “disclosure

 of the information is voluntary”; and (3) his failure to pay the monthly obligation

 of $100 “was not willful” and once he “received his monthly statement, he dutifully

 paid what was due.” (Id.at 1-2). None of Defendant’s arguments challenge Judge

 Hoffman’s determination that the Government was properly entitled to a writ of

 garnishment for the restitution amount due and that Defendant’s motions

 concerning the writ were without merit and premature.

    C. Writ of Garnishment

       The Government filed the Wage Garnishment Application to satisfy

 Defendant’s outstanding restitution judgment under 18 U.S.C. § 3613(a), which

 permits enforcement of a criminal judgment imposing a fine or restitution “in

 accordance with the practices and procedures for the enforcement of a civil

 judgment under Federal or State law.” 18 U.S.C. § 3613(a). See also 18 U.S.C. §

 3613(f) (“[A]ll provisions of this section are available to the United States for the

 enforcement of an order of restitution.”). Under § 3613(c), upon entry of the

 Judgment, a lien arose against all Defendant’s property and rights to property for
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 the amount owed in restitution. See United States v. Goyette, 446 F. App’x 718,

 720 (5th Cir. 2011) (citing 18 U.S.C. § 3613(c)).

       The Government, pursuant to the Federal Debt Collection Procedures Act

 (“FDCPA”), 28 U.S.C. §§ 3001 et seq., sought issuance of a wage garnishment to

 Defendant’s employer for substantial nonexempt property belonging to or due to

 Defendant. (Doc. 96). The FDCPA “provides the exclusive civil procedures for the

 United States to obtain satisfaction of a judgment in a criminal proceeding that

 imposes a fine, assessment, penalty, or restitution in favor of the United States.”

 United States v. Peters, 783 F.3d 1361, 1363 (11th Cir. 2015) (quoting 28 U.S.C.

 §§ 3001(a)(1), 3002(3)(B), 3002(8); other citations omitted). Under the FDCPA,

 “[a] court may issue a writ of garnishment against property (including nonexempt

 disposable earnings) in which the debtor has a substantial nonexempt interest and

 which is in the possession, custody, or control of a person other than the debtor in

 order to satisfy the judgment against the debtor.” 28 U.S.C. § 3205(a). Section 3202

 specifies, in a proceeding to enforce the judgment, that a notice must be served on

 the judgment debtor which advises the debtor of the proceeding, potential

 exemptions, and the right to object and to request a hearing or transfer to the district

 in which the debtor resides. 28 U.S.C. § 3202(b), (c).

       Following issuance of the writ, the judgment debtor may request a hearing;

 however, the only issues the debtor may raise at the hearing after the writ issues are

 the “validity of any claim of exemption” and “compliance with any statutory
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 requirement for the issuance of the post-judgment remedy granted.” 28 U.S.C. §

 3202(d)(1), (2).3 See Goyette, 446 F. App’x at 720 (holding criminal defendant-

 judgment debtor could not collaterally attack the amount of restitution owed

 because the only issues he was permitted to raise concerned exemptions and

 noncompliance with statutory requirements for writ); United States v. Tripodis, No.

 1:01-cr-109-WSD, 2016 WL 5389142, at *2 (N.D. Ga. Sept. 27, 2016) (“A

 defendant is not entitled to a hearing where he fails to show the Government did

 not comply with a statutory requirement, or fails to present ‘a colorable claimed

 exemption.’”).

        In this case, Judge Hoffman granted the Government’s Wage Garnishment

 Application, ordering: (1) the Government to provide the Clerk of Court with a writ

 that contained the statutory notices including instructions for the judgment debtor

 to object to the garnishee’s answer and to obtain a hearing on the objection; (2) the

 Clerk of Court to issue the writ once submitted; and (3) the Government to serve

 the writ and certify in a filing that service had been made. (Doc. 114 at 11-12 (citing

 28 U.S.C. § 3205(c)(2), (3) & § 3202(b)). All other relief sought by Defendant was

 denied without prejudice as premature with the notation that “[t]he Defendant shall

 have the opportunity to raise any objections permitted by law, and to file any legally

 supportable motions, including requesting a hearing and/or transfer, within the 20-




        3
           A third issue a debtor may raise in the context of a default judgment is not relevant in
 this case. 28 U.S.C. § 3202(d)(3).
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 day period set forth in 28 U.S.C. § 3205(c)(5).” (Id. at 12). However, the writ of

 garnishment never issued due to Defendant’s improvident appeal of Judge

 Hoffman’s non-final order to the Eleventh Circuit—and despite Judge Hoffman’s

 denial of Defendant’s Motion for Stay pending that appeal—because this Court lost

 jurisdiction while the case was on appeal.

       The Court now turns to Defendant’s Objections, which are either without

 merit or remain premature because the writ of garnishment never issued. To the

 extent that Defendant argues Judge Hoffman “erroneously” determined that he had

 not paid the $10,000 fine due at the time of Judgment (Doc. 47) or that Defendant

 challenges the amount of “monies received by the Government,” such arguments

 relate to calculation of the amount Defendant currently owes. Notwithstanding his

 arguments that the amount he still owes should be reduced, the amount of restitution

 currently owed indisputably remains in the tens of millions of dollars.

       Defendant argues that his failure to pay for seven years was not voluntary or

 willful and was merely an oversight on his part. (Doc. 124). The Government

 contends that Defendant failed to make the $10,000 lump-sum payment, missed 81

 monthly payments resulting in an arrearage of more than $18,100, was not

 cooperative in paying his restitution debt until the garnishment application was

 filed, and refused to submit the financial disclosure statement twice. (Doc. 111).

 The Government argues that the $325 per month Defendant has offered to pay over

 a 36-month period to clear the arrearage is less than half the relief requested in the
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 writ of garnishment and that payment plans should be for the shortest time in which

 the payment of the debt can reasonably be made. (Id.at 3 (citing 18 U.S.C. §

 3572(d)(2) (“[T]he length of time over which scheduled payments will be made

 shall be set by the court, but shall be the shortest time in which full payment can

 reasonably be made.”))). Defendant’s debt will expire on June 19, 2029, the

 Government argues, and there is no basis to justify allowing him to “make nominal

 payments in lieu of the wage garnishment when he has the ability to pay

 significantly more”; Defendant’s proposed reduced payment plan will be only

 $18,200 toward his judgment when he has the ability to pay closer to $84,000. (Id.).

        The Court finds that whether Defendant’s failure to pay in monthly

 instalments for seven years was an “oversight” or “unknowing”4 would not impact

 the Government’s entitlement to the writ of garnishment. Under the Mandatory

 Victim Restitution Act (“MVRA”), this Court may “adjust the payment schedule .

 . . as the interests of justice require,” if there has been “any material change in the

 defendant’s economic circumstances that might affect the defendant’s ability to pay

 restitution.” 18 U.S.C. § 3664(k). A payment that is more than ninety days late is

 in default; when a defendant defaults on a payment plan for restitution, the

 defendant must pay “the entire amount” of the restitution, “notwithstanding any

 installment schedule.” 18 U.S.C. § 3572(i). It is undisputed that Defendant



        4
          Defendant’s admitted refusal to cooperate in providing a financial statement when
 requested by the Government hardly seems “unknowing” or “merely following directions” as
 Defendant argues. (Doc. 124 at 1-2).
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 defaulted on his monthly payment plan and owes at least seven-years’ worth of

 arrearage.

       Because Defendant has defaulted, the Court is required to order full

 restitution under the MVRA without considering the defendant’s financial situation

 as long as the amount sought does not exceed the maximum permitted by statute.

 See, e.g., United States v. Miller, 588 F. Supp. 2d 789, 798 (W.D. Mich. 2008)

 (“[W]hen the government seeks garnishment through the [FDCPA] as here, no

 payment schedule is called for. . . . If the Court enters the proposed order of

 garnishment, the United States may seize only twenty-five percent, the maximum

 permitted by statute.”). The amount of nonexempt disposable earnings that may be

 applied toward Defendant’s restitution judgment is (1) 25% of his weekly

 disposable income, or (2) the amount by which his weekly income exceeds 30 times

 the federal minimum wage. 15 U.S.C. § 1673 and 28 U.S.C. § 3002(9). (Doc. 96 at

 3; Doc. 111 at 5). To the extent Defendant contests the calculation of the full

 amount of restitution he owes, the Court has already rejected Defendant’s collateral

 attack on the calculation of restitution (see Doc. 99) and will not revisit that issue.

 Defendant’s Objections to the issuance of the Government’s Wage Garnishment

 Application is overruled.

       Defendant argues, for the first time in his Objection, that the writ should not

 issue because the Government has failed to certify that the victim in this case, JP

 Morgan, was notified of Defendant’s “change in circumstances.” (Doc. 124 at 1).
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 The statute requires “the Attorney General [to] certify to the court that the victim

 or victims owed restitution by the defendant have been notified of the change in

 circumstances.” 18 U.S.C. § 3664(k). While it appears that a requirement for the

 Government to certify notification to the victim of the defendant’s “change in

 circumstances” would be relevant when the restitution payments are proposed to

 decrease, it would appear unnecessary when the victim will benefit from collection

 of an increased amount of restitution. Moreover, the lack of such certification is

 easily cured because the Government need only certify that notification to the

 victim was provided before the writ issues. United States v. Dye, 48 F. App’x 218,

 220 (8th Cir. 2002) (holding that the Government satisfied its statutory duty by

 notifying victims when it filed the motion for the writ or shortly thereafter and was

 not required to contact them before filing its writ application). Judge Hoffman was

 correct in finding that consideration of statutory compliance is premature until the

 writ of garnishment issues and Defendant files a request for a hearing to quash the

 writ.

         Consideration of Defendant’s request to transfer any hearing on his

 objections to the Government’s writ of garnishment to Georgia is similarly

 premature. Judge Hoffman properly determined that “Defendant’s request for

 transfer is premature and shall be denied without prejudice on that basis” because

 no writ of garnishment had yet been issued; thus, the Government had “not yet

 engaged in any debt collection proceedings that would be subject to transfer.” (Doc.
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 114 at 9). She held that, because it was premature, “Defendant could reassert his

 request for transfer, if necessary and appropriate, pursuant to the procedural

 requirements set forth in 28 U.S.C. § 3004(b)(2)).” (Id.). This determination is a

 correct application of the statute, and Defendant’s objections with regard to holding

 a hearing or seeking transfer to Georgia are premature; therefore his objections in

 this regard are overruled.

         Based on the foregoing, it is ordered as follows:

         1.    Defendant’s Objections (Doc. 124) to the Magistrate Judge’s April 20,

 2021 Order directing the Clerk to issue the writ of garnishment are OVERRULED.

         2.    The Government is ORDERED to file a certification in the docket that

 it has notified the victim of Defendant’s “change in circumstances” by the time it

 submits the proposed writ of garnishment.

         3.    The Clerk is directed to issue the writ of garnishment compliant with

 the requirements in Magistrate Judge Hoffman’s Order dated April 20, 2021 (Doc.

 114).

         DONE and ORDERED in Chambers, Orlando, Florida on January 6, 2022.




 Copies furnished to:
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 Counsel of Record
